                  2:18-cv-02522-RMG               Date Filed 09/12/18        Entry Number 4         Page 1 of 2


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                     District District
                                                 __________   of South of Carolina
                                                                          __________

                        Susan A. Butler                            )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.
                                                                   )
                                                                          Civil Action No.   2:18-cv-2522-RMG
Carl L. King, J.D.; Megan W. Dunham, J.D.; and Culp                )
               Elliott & Carpenter, PLLC
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       Culp Elliott & Carpenter, PLLC




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Thomas A. Pendarvis
                                       Pendarvis Law Offices, PC
                                       710 Boundary St., Unit A1
                                       Beaufort, SC 29902



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT

                                                                                       s/Brian D. Shropshire
Date:             09/12/2018
                                                                                       Signature of Clerk or Deputy Clerk
                   2:18-cv-02522-RMG                     Date Filed 09/12/18     Entry Number 4             Page 2 of 2


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:18-cv-2522-RMG

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
